     Case 2:24-cr-00091-ODW      Document 52   Filed 03/11/24   Page 1 of 13 Page ID #:953



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 21| Pro Hac Vice
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       Attorneys for Defendant, ALEXANDER SMIRNOV
 9|
10 ]| UNITED STATES DISTRICT COURT
^ ^ I CENTRAL DISTRICT OF CALIFORNIA
                                          ^ ^ ^s * * *


121 UNITED STATES OF AMERICA, )
131                                    )
141 Plaintiff, )
                                            ) CASE NO. 2:24-CR-00091-ODW
151                   „       ^       ——.-
       V.                            )
1611                                     )
171 ALEXANDER SMIRNOV, )

•sll                  _          .   .   )


191_)
                         Defendant, )


20 I
2i || DEFENDANT'S EMERGENCY EXPARTE MOTION FOR MEDICAL
         FURLOUGH FOR THE NEXT THIRTY DAYS PURSUANT TO
221 18 U.S.C. § 31420) OR IN THE ALTERNATIVE FOR AN ORDER
23 || REQURING THE UNITED STATES MARSHAL SERVICE TO
241| TRANSPORT DEFENDANT FOR SURGERY AND POST-OPERATIVE
        CARE WITH DR. TANAKA IN SAN FRANCISCO, CALIFORNIA

261| COMES NOW, Defendant, ALEXANDER SMIRNOV ("Mr. Smimov"), by
27
       and through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A.
28 I
                                               1
     Case 2:24-cr-00091-ODW          Document 52        Filed 03/11/24      Page 2 of 13 Page ID #:954



 11 SCHONFELD, ESQ., of the law firm ofCHESNOFF & SCHONFELD and hereby
 2
      Submits his Emergency Ex Parte Motion for Medical Furlough for the Next 30
 3
 41 Days pursuant to the authority of 18 U.S.C. § 3142(i). Specifically, Defendant is

 5 || seeking to be released on March 26, 2024, so that he can travel to San Francisco,
 6|
      California, for eye surgery on March 27, 2024, with H. George Tanaka, MD and to

 g || attend all medically required post-operative care through April 26,2024.

 9 Alternatively, Defendant requests that this Honorable Court issue an Order
10|
      requiring the United States Marshal Service to transport Defendant for surgery to

121| take place on March 27, 2024, at 7:00am with Dr. Tanaka as well as for all post-

      operative appointments'.
14|
             This Emergency Ex Parte Motion is made and based upon the attached

161| Memorandum of Points and Authorities, Declaration of Counsel, the letter from

17|
18

19|
^0 ' On March 8, 2024, Counsel Chesnoff spoke to a United States Marshals' Office Los Angeles
      representative (named either R. Kith or R. Keith) who works in Detention Management. The
21 || following is a summary of the conversation, and it is to the best of counsel's recollection (and if
     there are any inaccuracies counsel will stand corrected). The representative of the USMS stated
22 that it would not be within the Marshals' protocol to travel with a prisoner for six hours to San
      Francisco for surgery. He further stated that the process requires the Defendant to first notice the
      medical staff at the Santa Ana City jail of his medical problem issues. After that, a medical staff
^4 member will be assigned to evaluate Defendant's request for surgery and his underlying medical
      issues. That medical staff member in turn should make a recommendation to the national USMS
25 || medical center who in turn either denies the request for the surgery or directs the jail and the
      USMS to utilize a surgeon under contract to the jail for the procedure. As stated herein, it is
      respectfully submitted that this protocol will not address Defendant's serious eye issues in a
      timely manner and may result in irreparable harm. For that reason, that Defendant is seeking the
      alternative remedy of a Court Order directing the USMS to transport Defendant for the surgeiy
28 || and post-operative care with Dr. Tanaka.
                                                        2
      Case 2:24-cr-00091-ODW    Document 52     Filed 03/11/24   Page 3 of 13 Page ID #:955



 11 Dr. Tanaka submitted herewith, and the curriculum vitae of Dr. Tanaka submitted

2|
       herewith.
 3
41| Undersigned counsel conferred with counsel for the government via email

 5 || on March 8, 2024, but the parties could not resolve the issues. The government
 6|
       opposes this Motion.


 g || This Ex Parte Motion is brought in light of the emergency medical issues

 9 related to Defendant's health, specifically Defendant's eyes and as further detailed
10|
       in the attached letter from Dr. Tanaka. Undersigned counsel has also notified
11
12 j| counsel for the government, via email, of the filing of this Ex Parte Motion.

13 I Dated this 1 1th day of March, 2024.
14
^ II Respectfully Submitted:

16 II CHESNOFF & SCHONFELD
17|
lg I /s/ David Z. Chesnoff

1911                 ^"'.7'
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                                         "^"——?
                                          Pro Hac Vice
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                                             Attorneys for Defendant
261| ALEXANDER SMIRNOV
27

28|
     Case 2:24-cr-00091-ODW     Document 52     Filed 03/11/24   Page 4 of 13 Page ID #:956



 11| MEMORANDUM OF POINTS AND AUTHORITIES
 2
       A. THE COURT SHOULD ORDER THAT DEFENDANT BE
     || RELEASED ON MEDICAL FURLOUGH FOR THE NEXT THIRTY
 4 U DAYS PURSUANT TO 18 U.S.C. § 3142(i) SO THAT DEFENDANT
 5 || CAN TRAVEL TO SAN FRANCISCO, CALIFORNIA, FOR EYE
  || SURGERY ON MARCH 27, 2024, WITH DR. TANAKA AND SO
        THAT DEFENDANT CAN OBTAIN ALL MEDICALLY REQUIRED
 71| POST-OPERATIVE CARE
 8
             On February 26, 2024, at the Detention Hearing for Mr. Smirnov, counsel


101 Chesnoff advised the Court of his concern related to Mr. Smimov's glaucoma and


       the need for surgery. Notwithstanding the significant medical concern, Mr. Smirnov
12|
       was Ordered detained and is now in the custody of the United States Marshals

141| Service.

             Attached hereto as Exhibit A is a letter from H. George Tanaka, MD, the
16|
       physician responsible for treatment related to Mr. Smimov's significant eye


18 || condition.

19
             Attached hereto as Exhibit B is the curriculum vitae ("CV") for Dr. Tanaka.
20]
^ [[ The CV reflects that Dr. Tanaka graduated from the Harvard Medical School,

221| performed his internship at the Harvard Medical School, and did his Fellowship in

23|| „.
       Glaucoma Service at the Department of Ophthalmology Northwestern University.
24
^ I Dr. Tanaka recites in his letter that Mr. Smimov has a history of advanced

26 open angle glaucoma in both eyes. Mr. Smirnov has undergone several surgeries to

27 I
       treat his glaucoma and prevent blindness; however, his intraocular pressure
28|
      Case 2:24-cr-00091-ODW     Document 52     Filed 03/11/24   Page 5 of 13 Page ID #:957



 1 continues to be poorly controlled despite maximal tolerated medical therapy. Mr.

 2
       Smirnov has suffered severe optic nerve damage from glaucoma. In spite of multiple
 3
 41| surgeries in both eyes Mr. Smirnov's intraocular pressure is under poor control, even


 5 fl with maximal tolerated medical therapy. Therefore, Mr. Smirnov requires additional
 6|
       glaucoma surgery to lower his intraocular pressure and prevent irreversible blindness
 7
 g I from glaucoma.
                                                                                               f
                                                                                               t-


 9 ]| Dr. Tanaka has scheduled Mr. Smirnoffto have glaucoma surgery in his right
10 I
       eye on March 27, 2024, at Eye Surgery Center of San Francisco, San Francisco,


121 California, located at 1160 Post Street, San Francisco, California. The surgery will

       be performed at 7:00 AM and he will be required to report to this facility at 6:00 AM
14 I
       for pre-operative registration and preparation. This surgery is an outpatient


16|| procedure done under local anesthesia and does not require an overnight hospital

       stay. As this surgery entails some risks (surgical failure, infection, bleeding, need
18|
       for re-operation, loss of vision), Mr. Smirnov will require weekly post-operative


201| visits after his surgery to monitor his healing and manage any potential post-

       operative complications. In addition, Mr. Smirnov requires daily application of
22
       glaucoma eyedrop medication to control his intraocular pressure until he undergoes


24 [| his surgery on March 27, 2024.

25
             He will also require daily application of post-operative eyedrop medications
26 [
       to prevent infection and encourage proper healing of his operated eye.


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     Case 2:24-cr-00091-ODW      Document 52      Filed 03/11/24   Page 6 of 13 Page ID #:958



 11| i. IRREPARABLE HARM
2
            Undersigned counsel does not take the submission of this Ex Parte
3
      Motion lightly. Due to the time sensitive nature of the request (given that

      surgery is scheduled for 16 days from now), and in light in Defendant's medical
6|
      condition, and the need for surgeiy to lower his intraocular pressure and prevent
 7
      irreversible blindness from glaucoma, it is respectfully submitted that emergency ex-

 9    parte relief is warranted under the circumstances. It is respectfully submitted that
10
      the threat of irreparable harm (i.e. blindness/loss of eyesight) is not speculative.


12     As detailed in Dr. Tanaka's letter:

13          Mr. Smimoff [has] a history of advanced open angle glaucoma in both
14           eyes. Mr. Smirnov has undergone several surgeries to treat his
             glaucoma and prevent blindness; however, his intraocular pressure
             continues to be poorly controlled despite maximal tolerated medical
161| therapy. Mr. Smirnoff has suffered severe optic nerve damage from
             glaucoma and as a result has marked constriction of his peripheral
             vision in both eyes. (see enclosed visual field tests) In spite of multiple
18 ]| surgeries in both eyes Mr. Smirnov's intraocular pressure is under poor
             control, even with maximal tolerated medical therapy. Therefore, Mr.
             Smirnov requires additional glaucoma surgery to lower his intraocular
20           pressure and prevent irreversible blindness from glaucoma....


             Mr. Smimov will require weekly post-operative visits after his surgeiy
221| to monitor his healing and manage any potential post-operative
             complications. These postoperative visits should be performed by a
             fellowship-trained glaucoma specialist such as myself in a properly
24           equipped ophthalmic outpatient clinic.

25
         In addition, Mr. Smimov requires daily application of glaucoma
26 [| eyedrop medication to control his intraocular pressure until he
         undergoes his surgeiy on March 27. He will also require daily

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      Case 2:24-cr-00091-ODW     Document 52     Filed 03/11/24   Page 7 of 13 Page ID #:959



 1 application ofpost-operative eyedrop medications to prevent infection
 21 and encourage proper healing of his operated eye.


 3 I See Exhibit A.
 4|
       B. STATEMENT OF LAW
 5
 61 18 U.S.C. § 3 142(1) provides that this Court (as "judicial officer") "may, by

 71| subsequent order, permit the temporary release of the person, in the custody of a
 8]
       United States marshal or another appropriate person, to the extent that the judicial

10 fl officer determines such release to be necessary for ... another compelling reason.'"


111 18 U.S.C.A. § 3142(i) (emphasis added).
12
             Mr. Smirnov's medical condition is "compelling" and thus warrants


141| temporary release on a medical furlough for 30 days. First, he cannot receive the


       needed surgery for his eye condition in the facility where he's currently housed; in
16|
       fact, that facility does not have a surgical theatre. Second, his eye condition is


18 || causing him pain today: he is not simply "worried" that his eyes "might" worsen at

       some indeterminate point in the future. Third, he will gladly consent to the
20
       imposition of any other reasonable conditions of temporary release while on medical


221| furlough. And fourth, he was fully compliant with his prior conditions of release

       during the short, two-day period after his release but prior to his second arrest.
24 I
       Compare United States v. Parton, No. 321CR107KACJEM1, 2023 WL 2957803, at

261 *1 (E.D. Tenn. Apr. 14, 2023) (unpublished) (unlike Mr. Smirnov's case, 1) "staff

27
       at [the convicted Parton's] detention facility have provided him proper medical care
28
                                                7
     Case 2:24-cr-00091-ODW      Document 52     Filed 03/11/24   Page 8 of 13 Page ID #:960



 11| and assistance;" 2) Parton "speculatively" worried about "potentially getting an
 2
       infection" while awaiting sentencing in custody; and 3) Parton's "prior conduct
 3
 41[ while on pretrial release in this case continues to demonstrate that he poses a serious

 5 flight risk and 'danger to the safety of any other person or the community').
 6|
             Here, it is respectfully submitted that it would be objectively unreasonable for
 7
 g || the government to oppose and restrict the requested, "compelling" medical


 91| procedures and treatment for Defendant.
10
             In addition, it should be noted that the Eighth Amendment to the United States
11
12 I Constitution prohibits "cruel and unusual punishments...." Moreover, substantive


       due process requires the government to provide medical care to persons who are
14
       injured while in custody. City of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244


16|| (1983). The Supreme Court's decision in Kingsley v. Hendrickson, 576 U.S. 389

       (2015) changed the landscape for claims by pre-trial detainees. Kingsley recognized
18
       that the Fourteenth Amendment (and by extension, the Fifth) provides a different

201| constitutional standard than the Eighth Amendment for non-prisoner excessive force

       claims; while the Eighth Amendment prohibits only cruel and unusual punishment,
22 I
       "pretrial detainees (unlike convicted prisoners) cannot be punished at all." Id. at


241| 400. The Kingsley Court therefore held that, under the Due Process clauses, a

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       government official need not be subjectively aware that their actions are
26
       unreasonable; an aggrieved individual need only show that the government's


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      Case 2:24-cr-00091-ODW     Document 52     Filed 03/11/24   Page 9 of 13 Page ID #:961



 1 conduct was objectively unreasonable under the circumstances. See id. at 391-92.

 2
       Since it was decided, the Ninth Circuit Court of Appeals has held that medical-care

       claims brought by pretrial detainees under the Fourteenth Amendment are subject to

       the objective unreasonableness inquiry. Gordon v. Cnty, of Orange, 888 F.3d 1118,

 6|
       1120, 1122-25 (9th Cir. 2018) (medical-need claim).
 71
       C. ALTERNATIVE RELIEF

 9           As described in footnote number 1, the USMS has a procedure for an inmate
10
       to request treatment through the USMS. That procedure entails multiple levels of
11

12     review and ultimately may, or may not, result in Defendant receiving the needed


       surgery. However, if the surgery were to take place, it would not be done by Doctor
14
   Tanaka.
^ .^^.  ^..Dr..^^^
               Tanaka ..^
                      has been
                           .-^the
                               ^ Defendant's treatment^^..^,
                                  ^.^^. ..-^^^.       provider, has excellent


16     credentials, and is the most familiar with the Defendant's treatment needs.


             Accordingly, notwithstanding the US1VIS policy described in footnote 1, if this
18
       Honorable Court does not grant the medical furlough request it is respectfully


20     requested that this Honorable Court enter an Order directing the USMS to transport

21
       Defendant for surgery to take place on March 27, 2024, at 7:00am with Dr. Tanaka
22
       as well as for all post-operative appointments.


24

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       Case 2:24-cr-00091-ODW       Document 52 Filed 03/11/24       Page 10 of 13 Page ID
                                             #:962


 1|| D. CONCLUSION
 2
             Defendant respectfully requests that this Honorable Court grant this
 3
 41| Emergency Ex Parte Motion for Medical Furlough for the Next 30 Days pursuant

 5 I to 18 U.S.C. § 3142(i). Specifically, Defendant should be released from custody
 6|
       and permitted to be able to travel to San Francisco, California, for eye surgery on
 7
 g March 27, 2024, with Dr. Tanaka and to attend all medically required post-

 91 operative care through April 26, 2024.
10|
     DATED this 11th day of March, 2024.
Ill ——  — - —J ^..^^,

12 I Respectfully Submitted:

13
                                              CHESNOFF & SCHONFELD
14 I
15 I /s/David Z. Chesnoff
161 DAVID Z. CHESNOFF, ESQ.
                                              Pro Hac Vice
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                                              rschonfeld@cslawoffice.net
221| dzchesnoff@cslawoffice.net
^ II Attorneys for Defendant
                                              ALEXANDER SMIRNOV
24

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26]
27 I
28 I
                                                 10
       Case 2:24-cr-00091-ODW      Document 52 Filed 03/11/24      Page 11 of 13 Page ID
                                            #:963


 11| DECLARATION OF COUNSEL
 2
             I, David Z. Chesnoff, do hereby declare that the following statements are

 41| true and correct:

 5
 ^ ]] 1. I am co-counsel of record for Defendant Alexander Smirnov in this case;


 7 || 2. The assertions in the underlying Motion are true and correct to the best of
 8
       my knowledge and belief.
 9
^01| 3. Undersigned counsel, in conjunction with counsel Schonfeld, conferred with

1! I] counsel for the government via email on March 8, 2024, but the parties could not
12 I
       resolve the issues.
13
^4 4. This .&c P^rte Motion is brought in light of the emergency issues related to

15 || Defendant's health, specifically Defendant's eyes and as detailed in the attached
16|
       letter from Dr. Tanaka.
17|
lg || 5. Undersigned counsel, in conjunction with counsel Schonfeld, has also

19 notified counsel for the government via email of the filing of this Ex Parte Motion.
20 I
       Specifically, the following counsel for the government are being notified by email
21
22 I of this Motion:

23 II Derek Edward Hines
24 || US Department of Justice
       Office of Special Counsel David C. Weiss
25 || 950 Pennsylvania Avenue NW Room B-200
26 I Washington, DC 2053 0
          771-217-6091
27 I Email: deh@usdoj.gov
28
                                               11
       Case 2:24-cr-00091-ODW       Document 52 Filed 03/11/24   Page 12 of 13 Page ID
                                             #:964


 11 Leo J. Wise
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 41 Washington, DC 20530
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 5 || Email: LJW@USDOJ.GOV (Inactive)
 61
          Christopher Michael Rigali
 71 Office of Special Counsel, U.S. Dept. of Justice
 g || 950 Pennsylvania Avenue NW, Room B-200
       Washington, DC 20530                                                              f

 91 202-616-2652
10 Email: christopher.rigali2@usdoj.gov

11 II Sean F Mulryne
121 Office of the Special Counsel - Weiss
      950 Pennsylvania Avenue NW, Room B-200
13 I Washington, DC 20530
141 202-430-4880
          Email: sfm@usdoj.gov

161| I declare under penalty of perjury under the laws of the United States of

       America that the foregoing is true and correct.
18|
      Executed on this 11th day of March, 2024.
19 I —-   — — " —j - ..^^,
20 I
21                     II               /        //
                                                      riXvi^. C^IESNOFF
23

24

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                                                 12
       Case 2:24-cr-00091-ODW      Document 52 Filed 03/11/24     Page 13 of 13 Page ID
                                            #:965


 11| CERTIFICATE OF SERVICE
 2
             I hereby certify that on this 11th day of March, 2024, I caused the forgoing

 41| document to be filed electronically with the Clerk of the Court through the CM/ECF

       system for filing; and served on counsel of record via the Court's CM/ECF system.
 6

 7
                                      /s/ Camie Linnell
                                      Employee of Chesnoff & Schonfeld
                                                                                            f
 9|
                                                                                            E.




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